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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF DELAWARE

ATELIERS DE LA HAUTE-GARONNE
(French Corporation) and F2C2 SYSTEMS
S.A.S. (French Corporation),

Plaintiffs.

BROETJE AUTOMATION-USA INC.
(Delaware Corporation), BROTJE-
AUTOMATION GMBH (German

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Vv. ) Civil Action No.: 09-598-LPS

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Corporation), )
)

Defendants.

STIPULATION OF DISMISSAL

The parties to this action, Plaintiffs by its principals alone directing undersigned
counsel and Defendants by and through their undersigned counsel, pursuant to Federal Rule of
Civil Procedure Rule 41(a)(1)(A)(ii), hereby stipulate and agree that this action shall be and is

DISMISSED WITH PREJUDICE, as to all parties and all claims, each party to bear its own

costs and attorneys’ fees.

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Broetje Automation —USA Inc.

ea Dew C. (4AM *5183 )

F2C2 Systems S.A.S. BYStje-Automation GMBH

 

 

 
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SO ORDERED this day of

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, 2015.
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United States District Judge
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